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                                                                  [Local Form 3015.1]
                                                      IN THE UNITED STATES BANKRUPTCY COURT
                                                      FOR THE EASTERN DISTRICT OF TENNESSEE

 In re                                                         Case No.                 Check if applicable:
 Dustin L. Baughard                                            Chapter 13                     Preconfirmation Amended Plan
                                          Debtor 1                                            Postconfirmation Modified Plan
 (If spouse is filing:)
 Sierra D. Baughard
                                          Debtor 2

                                                                      CHAPTER 13 PLAN



 Part 1: Notices
The use of this chapter 13 plan form is mandatory for chapter 13 cases filed in the Eastern District of Tennessee.

To Debtor(s): Bankruptcy law is complex; you are urged to consult an attorney. This form sets out options that
              may be appropriate in some cases, but the presence of an option on the form does not indicate that the
              option is appropriate in your circumstances. Plans that do not comply with local rules and judicial
              rulings may not be confirmable.

To Creditors: Bankruptcy law is complex; you are urged to consult an attorney. Your rights may be affected by
              this plan. Your claim may be reduced, modified, or eliminated. If you oppose this plan, you or
              your attorney must file an objection with the clerk of court before the scheduled time of the 11
              U.S.C. § 341(a) meeting of creditors, or the objection must be lodged with the chapter 13 trustee at
              the meeting unless otherwise ordered by the court. See E.D. Tenn. LBR 3015-3(a) or E.D. Tenn.
              LBR 3015-2(a)(5) and (b), as applicable. If no objection to confirmation is filed, the Bankruptcy Court
              may confirm this plan without further notice. See Federal Rule of Bankruptcy Procedure 3015.
              Regardless of plan treatment, creditors will need to file a proof of claim before any claim can be paid
              under the plan. See Federal Rule of Bankruptcy Procedure 3002. Further, nothing in this plan precludes
              or otherwise limits the filing of an objection or complaint, as appropriate, contesting the allowance of such
              claim or the validity of any lien or right of setoff or seeking to avoid any lien under any applicable section
              of the Bankruptcy Code.

This plan: (Debtor(s) must complete the following by checking one box on each line.)

 1.1        Limits the amount of a secured claim, which may result in a partial payment or no                    Yes               No
            payment at all to the secured creditor. [See plan provision in Section 3.2.]
 1.2        Avoids a judicial lien or security interest. [See plan provision in Section 3.4.]                    Yes               No

 1.3       Contains a Nonstandard Plan Provision. [See plan provision in Section 8.1.]                           Yes               No



 Part 2: Plan Payments and Length of Plan

2.1         Debtor(s) will make regular payments to the trustee as follows:

 Debtor 1 $129.00                                       weekly,     biweekly,   semi-monthly, or     monthly for 60 months by
   payroll deduction or                  direct payment to the trustee (and, complete if applicable)

 Debtor 2 $257.00                                       weekly,     biweekly,   semi-monthly, or     monthly for 60 months by
   payroll deduction or                  direct payment to the trustee (and, complete if applicable)

Future payment changes (Complete if applicable.)


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     Beginning       , plan payments will change to: $                             weekly,    biweekly,    semi-monthly, or       monthly by
payroll deduction or   direct payment to the trustee.

2.2      Federal Income Tax Refunds
In addition to the payments in Section 2.1, the debtor(s) will pay to the trustee federal income tax refunds as follows:

    none,         all, or       in excess of $1,000.00

If tax refunds are being paid to the trustee, the debtor(s) will furnish to the trustee a copy of each federal income tax return
filed by the debtor(s) during the pendency of the case and every request for extension of time to file a return, within 14
days of the filing of the return or the mailing of the request. In order to expedite the trustee’s receipt of the refunds, the
trustee may request that the court enter a tax intercept order so that the IRS will send the tax refunds directly to the
trustee. If an amount other than “all” is to be paid into the plan, the trustee will refund the balance to the debtor(s) within
60 days of receipt, if the debtor(s) are current in the plan payments under Section 2.1 and if the debtor(s) have provided a
copy of their tax return to the trustee. Otherwise, the trustee may apply the balance due to the debtor(s) to cure any
arrearage. If the trustee is unable to determine the amount due to the debtor(s) because the debtor(s) have not provided
to the trustee a copy of the federal tax return within 60 days of the trustee’s receipt of a tax refund, then the debtor(s) are
deemed to have forfeited the amount due to them, and the trustee may disburse this amount to creditors as an additional
tax refund contributed to the plan.

2.3     Additional Payments (Complete if applicable.)
The debtor(s) will make the following additional payments to the trustee: (Describe the source, estimated amount, and
estimated date of payment.)




 Part 3: Treatment of Secured Claims

3.1         Maintenance of payments and cure of default, if Any (Complete if applicable).

Installment payments on the secured claims listed in this section, which will extend beyond the life of the plan, will be
maintained during the plan, with payments disbursed by the trustee unless “Yes” is listed under “Direct Pay by Debtor(s)?”
The holders of the secured claims will retain their liens following the completion of payments under the plan, and any
unpaid balance of the claims is not subject to discharge. Any existing arrearage on a listed claim will be paid in full
through disbursements by the trustee, with interest, if any, at the rate stated. Any postpetition installment payment
changes and fees, expenses, and charges noticed in conformity with Federal Rule of Bankruptcy Procedure 3002.1 will be
paid without plan modification by the party designated below to make the installment payment unless otherwise ordered
by the court.

The installment payment and amount of arrearage stated in an allowed claim, proof of which is filed, control over any
contrary amounts listed below.

If relief from the automatic stay is ordered as to any collateral described below, all payments under this section to
creditors secured solely by that collateral will cease unless otherwise ordered by the court.

 Name of                     Collateral                      Principal   Installment   Direct Pay    Amount of     Int. Rate on      Arrearage
 Creditor                    Description                     Residence   Payment       by            Arrearage     Arrerage          Payment
                                                             ?                         Debtor(s)?




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 Name of                     Collateral                      Principal    Installment    Direct Pay   Amount of   Int. Rate on        Arrearage
 Creditor                    Description                     Residence    Payment        by           Arrearage   Arrerage            Payment
                                                             ?                           Debtor(s)?
                             310 North Hardin
                             Street Greeneville,
                             TN 37745 Greene
                             County (foreclosure
                             sale scheduled for
                             April 16, 2019)
                             3 bedroom house on
 Flagstar Bank               .95 acre lot        Yes                     $460.00         No           $3,220.00   0.00%               $53.67

3.2         Request for Valuation of Security, Payment of Fully Secured Claims, and Modification of Undersecured
            Claims (Complete if applicable and check “Yes” in Section 1.1. The following provisions will be effective only if
            there is a check in the “Yes” box in Section 1.1.)

For each creditor listed in this section, the “Secured Amount” was calculated by valuing the creditor’s collateral and
subtracting superior liens. For nongovernmental creditors, the debtor(s) request that the Secured Amount be the
determinative amount of the creditor’s secured claim under Federal Rule of Bankruptcy Procedure 3012 and 11 U.S.C. §
506(a). For governmental creditors, the listed Secured Amount is an estimate with no binding effect; rather, the amount of
the governmental creditor’s secured claim under Federal Rule of Bankruptcy Procedure 3012 and 11 U.S.C. § 506(a) will
be determined by the amount the creditor states in response to Question No. 9 on its proof of claim for “Amount of the
claim that is secured” unless otherwise ordered by the court under Federal Rule of Bankruptcy Procedure 3012(c).

If the Secured Amount is greater than the creditor’s total claim, the total allowed claim will be paid in full with interest at
the rate stated below. If the Secured Amount is less than the creditor’s total claim, only the allowed Secured Amount will
be paid in full with interest at the rate stated below. Any portion of the creditor’s total allowed claim that exceeds the
Secured Amount will be treated as an unsecured claim under Section 5.1 of this plan. If the Secured Amount is listed as
“Zero” or “None,” the creditor’s allowed claim will be treated entirely as an unsecured claim under Section 5.1 of this plan.

Monthly payments will be disbursed by the trustee unless “Yes” is listed under “Direct Pay by Debtor(s)?”

Each creditor listed below will retain its lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

            (a) payment of the underlying debt determined under nonbankruptcy law, or
            (b) discharge of the underlying debt under 11 U.S.C. § 1328,

at which time the lien will terminate and be released by the creditor.

 Name of Creditor               Collateral                     Secured Amount      Interest Rate      Monthly Payment     Direct Pay by
                                Description                                                                               Debtor(s)?
 -NONE-

3.3     Secured Claims Excluded from 11 U.S.C. § 506 (Complete if applicable.)
The claims listed in this section were either:

            (a) incurred within 910 days before the petition date and secured by a purchase money security interest in a
            motor vehicle acquired for the personal use of the debtor(s), or
            (b) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing
            of value.

These claims will be paid in full with interest at the rate stated below with payments disbursed by the trustee unless “Yes”
is listed under “Direct Pay by Debtor(s)?” The amount of the creditor’s claim stated on its proof of claim, if allowed,
controls over any contrary amount listed below.

Each creditor listed below will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:
       (a) payment of the underlying debt determined under nonbankruptcy law, or
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            (b) discharge of the underlying debt under 11 U.S.C. § 1328,

at which time the lien will terminate and be released by the creditor.

 Name of Creditor               Collateral                     Amount of Claim       Interest Rate          Monthly Payment         Direct Pay by
                                Description                                                                                         Debtor(s)?
 Santander                      2017 Jeep                               $19,226.00 6.00%                               $371.69 No
 Consumer USA                   Renegade
 Inc.                           Tag No.: 2J72F2

3.4         Lien Avoidance (Complete if applicable and check “Yes” in Section 1.2. The following provisions will be effective
            only if there is a check in the “Yes” box in Section 1.2.)

The judicial liens and nonpossessory, nonpurchase money security interests securing the claims listed in this section
impair exemptions to which the debtor(s) would be entitled under 11 U.S.C. § 522(b). Upon entry of an order confirming
this plan, the liens listed will be avoided to the extent they impair such exemptions. The amount of a lien avoided will be
treated as an unsecured claim in Section 5.1 of this plan. The amount, if any, of the lien interest that is not avoided will be
paid in full as a secured claim with payments disbursed by the trustee. If multiple liens on the same collateral impairing
the same exemption are being avoided, the liens should be listed and avoided in reverse order of priority, i.e., start with
lowest priority lien and proceed to the highest.

If a lien has been avoided, it should not be included in (B). Add (A) plus (B) plus (C) and then subtract (D) to determine
(E) Extent of Impairment. If (E) is equal to or greater than (A), the entire lien is avoided and the amount of (F) Secured
Claim will be $0. If (E) is less than (A), only the amount in (E) is avoidable. The difference between (A) and (E) is the
amount of (F) Secured Claim.


 Name of             (A)                  (B)          (C)                     (D)         (E)        (F)                   Interest         Monthly
 Creditor            Amount of            Total of all Amount of               Value of    Extent of  Secured               Rate             Payment
                     Lien                 Other Liens Exemption                Property    Impairment Claim
 World                       $288.00                 $0.00           $288.00       $288.00 $288.00          $0.00           0.00%                       $0.00
 Finance
 Company
 Further identify below each judicial lien by property address and recordation information, and list the collateral covered
 by each nonpossessory, nonpurchase money security interest.
 household goods
 11-18


3.5         Surrender of Collateral (Complete if applicable.)

The debtor(s) surrender the collateral listed in this section. The debtor(s) request that the automatic stay under 11 U.S.C.
§ 362(a) be terminated as to this collateral and the codebtor stay under § 1301 be terminated in all respects upon entry of
an order confirming this plan. Any allowed deficiency balance resulting from a creditor’s disposition of the
collateral will be treated as an unsecured claim in Section 5.1 of this plan if the creditor amends its
previously-filed claim within 120 days from entry of the order confirming this plan or by such additional time as
the creditor may be granted upon motion filed within that 120-day period.

 Name of Creditor                                                                  Collateral Description
 Colonial Loan Association Inc.                                                    Rainbow vacuum cleaner

3.6      Secured Claims Paid by Third Party (Complete if applicable.)
The following secured claims will be paid directly by the designated third party. The trustee will make no payment on the
claim unless the creditor amends its previously-filed claim to assert a deficiency balance that will be treated as an
unsecured claim in Section 5.1 of this plan.

 Name of Creditor                                              Collateral Description                         Third Party
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 Name of Creditor                                              Collateral Description             Third Party
 -NONE-



 Part 4: Treatment of Priority Claims

4.1         General

Allowed claims entitled to priority under 11 U.S.C. § 507, including filing fees, attorney’s fees for debtor(s), certain taxes,
and domestic support obligations except as provided below in Section 4.3 or 8.1, will be paid in full without postpetition
interest by deferred cash payments before payment of nonpriority unsecured claims in Section 5.1. Notwithstanding the
foregoing, the trustee will pay in full allowed claims for prepetition real property taxes filed by a governmental entity at the
applicable statutory interest rate, regardless of whether the claim is filed as priority or secured.

4.2         Attorney’s Fees

The attorney for the debtor(s) requests a flat fee in the amount of:

$3,000.00, which will be paid in full less $1,190.00 previously paid by the debtor(s).

If no amounts are included, the attorney for the debtor(s) is not seeking a flat fee and will instead be filing a fee application
as contemplated by E.D. Tenn. LBR 2016-1(c).

4.3     Domestic Support Obligations (Complete if applicable.)
The automatic stay does not preclude the establishment or modification of a domestic support obligation order as
permitted by 11 U.S.C. § 362(b)(2)(A)(ii).

The debtor(s) will continue to pay directly or by payroll deduction domestic support obligations that are due and payable
postpetition, regardless of whether a proof of claim is filed.

If a claim for a prepetition domestic support obligation arrearage is filed, the allowed claim will be paid in full by the trustee
unless the obligation has been assigned to, or is owned by, a governmental unit and may be paid less under 11 U.S.C. §
1322(a)(4). If 11 U.S.C. § 1322(a)(4) applies, the allowed claim will be paid by the trustee as follows:




 Part 5: Treatment of Nonpriority Unsecured Claims

5.1         Nonpriority Unsecured Claims Not Separately Classified

Allowed nonpriority unsecured claims that are not separately classified will be paid:
   in full
   Enter Percentage       %
   pro rata on a funds available basis after payment of all other separately-classified claims
   other: Enter Information

If more than one option is checked above, the option providing the largest payment will be effective.

5.2     Postpetition Claims
 Postpetition claims allowed under 11 U.S.C. § 1305, proofs of which are filed by creditors, will be paid as follows:

            § 1305(a)(1) tax claims to be paid in full by the trustee

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            § 1305(a)(1) tax claims will not be paid by the trustee
            § 1305(a)(2) consumer debt claims to be paid in full by the trustee
            § 1305(a)(2) consumer debt claims to be paid by the trustee as provided in Section 5.1; however, if Section 5.1
            provides for pro rata distribution only, the amount of the pro rata distribution on the § 1305(a)(2) claims will be
            determined as of the date the postpetition claim is filed
            § 1305(a)(2) consumer debt claims will not be paid by the trustee

Check above all that apply.


 Part 6: Executory Contracts and Unexpired Leases

6.1     The executory contracts and unexpired leases listed below are assumed and will be treated as specified.
All other executory contracts and unexpired leases are rejected, with any claim arising from the rejection to be
treated as an unsecured claim in Section 5.1 of this plan. (Complete if applicable.)

Contractual installment payments will be disbursed by the trustee unless “Yes” is listed under “Direct Pay by Debtor(s)?”
Any arrearage will be paid in full with payments disbursed by the trustee. The installment payment and amount of
arrearage stated in an allowed claim, proof of which is filed, control over any contrary amounts listed below. A claim
arising from the rejection of an executory contract or unexpired lease will be paid as unsecured in Section 5.1 of
this plan if the creditor files a proof of claim within 60 days from entry of the order confirming the plan that first
rejects the executory contract or unexpired lease.

 Name of Creditor               Description of                 Installment        Direct Pay by     Amount of     Arrearage
                                Contract or Lease              Payment            Debtor(s)?        Arrearage     Payment

 Progressive                    living room set                              89.50 No               0.00                               0.00
 Leasing




 Part 7: Vesting of Property of the Estate

7.1         Property of the estate will not vest in the debtor(s) until completion of the plan as evidenced by the
            trustee’s filing of a certificate of final payment.


 Part 8: Nonstandard Plan Provisions

8.1         Nonstandard Provisions. (Complete if applicable and check “Yes” in Section 1.3. The following provisions will
            be effective only if there is a check in the “Yes” box in Section 1.3.)




Any nonstandard provision placed in this plan other than in this Section 8.1 is void. If there is a conflict between
a provision listed in this section and a standard provision of this plan, the provision listed here controls to the
extent of the conflict.




 Part 9: Signatures
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9.1     Signatures of Debtor(s) and Attorney for the Debtor(s). (If the debtor(s) do not have an attorney, the debtor(s)
must sign below; otherwise the debtor(s) signatures are optional. The attorney for the debtor(s), if any, must sign below.
By signing, the attorney certifies that the debtor(s) consent to the provisions in the plan and have authorized its filing.)


       /s/ Dustin L. Baughard                                                 /s/ Sierra D. Baughard
       Dustin L. Baughard                                                     Sierra D. Baughard
       Signature of Debtor 1                                                  Signature of Debtor 2

       Executed            04-10-19                                           Executed      04-10-19
       on:                                                                    on:



       /s/ Jonathan Sevier Cave                                            Date: 04-10-19
       Jonathan Sevier Cave 027139
       Signature of Attorney for Debtor(s)

By filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify
that the wording and order of the provisions in this plan are identical to the court’s form plan, other than any
nonstandard provisions included in Section 8.1.




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                                                               United States Bankruptcy Court
                                                                     Eastern District of Tennessee
            Dustin L. Baughard
 In re      Sierra D. Baughard                                                                            Case No.
                                                                                  Debtor(s)               Chapter    13



                                        CERTIFICATE OF SERVICE
        The undersigned hereby certifies that a true and exact copy of the Chapter 13 Plan has been served upon
the Trustee, U.S. Trustee, and said creditor(s) named in same, by electronically filing a copy of same to the
Trustee and U.S. Trustee, via the Office of the Clerk, United States Bankruptcy Court Eastern District of
Tennessee, and by mailing a copy of the same in the United States first class mail addressed to said named
creditor(s) at the following addresses with sufficient postage thereon to carry same to its destination.

This 12th day of April, 2019.

                                                                               /s/ Jonathan Sevier Cave
                                                                               Jonathan Sevier Cave 027139
                                                                               Cave Law Firm PLLC
                                                                               104 North College Street
                                                                               Greeneville, TN 37743-5608



Colonial Loan Association Inc.                                Flagstar Bank                   Progressive Leasing
ATTN: Carla F. Bunch                                          5151 Corporate Drive            256 West Data Drive
6245 W. Andrew Johnson Highway                                Troy, MI 48098                  Draper, UT 84020
Morristown, TN 37814-3213

Santander Consumer USA Inc.                                   Wilson & Associates, P.L.L.C.   World Finance Company
ATTN: C T Corporation System                                  ATTN: C T Corporation System    197 Frederick Street N.
300 Montvue Road                                              300 Montvue Road                Greenville, SC 29607
Knoxville, TN 37919-5546                                      Knoxville, TN 37919-5546




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